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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                x

JACK PHILLIPPS, Individually and on Behalf :
of All Others Similarly Situated,

                      Plaintiff,

       vs.
                                                       No. 19 Civ. 1927 (PGG) (KHP)
MAXWELL TECHNOLOGIES, INC., STEVE :
BILODEAU, RICHARD BERGMAN, JORG
BUCHHEIM, FRANZ J. FINK, BURKHARD
GOESCHEL, ILYA GOLUBOVICH, and    :
JOHN MUTCH,

                      Defendants.
                                                x

                               XXXXXXXX ORDER STAYING ACTION
              STIPULATION AND [PROPOSED]



       Subject to the approval of the Court, plaintiff Jack Phillipps and defendants Maxwell

Technologies, Inc., Steve Bilodeau, Richard Bergman, Jorg Buchheim, Franz J. Fink, Burkhard

Goeschel, Ilya Golubovich, and John Mutch, by their undersigned counsel, stipulate and agree as

follows:

       WHEREAS, on February 28, 2019, plaintiff Jack Phillipps filed his Class Action

Complaint for Violations of the Federal Securities Laws ("Complaint") in the above-captioned

action (the "Action") alleging violations of Sections 14 and 20 of the Securities Exchange Act of

1934, in connection with the proposed acquisition of Maxwell by Tesla, Inc. [Dkt No. 1];

       WHEREAS, pursuant to Stipulation and Order Extending Time entered by the Court on

May 23, 2019 [Dkt. No. 9], the deadline for all defendants to answer, move, or otherwise

respond to the Complaint is currently June 28, 2019;
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        WHEREAS, substantially similar class actions have been filed in the Federal District

Court for the Southern District of California, also alleging violations of Sections 14 and 20 of the

Securities Exchange Act of 1934, in connection with the proposed acquisition of Maxwell by

Tesla, Inc. against Defendants, styled Leggett v. Maxwell Technologies, Inc., et al., Case No.

3:19-cv-003 77, Mantak v. Maxwell Technologies, Inc., et al., Case No. 3 :19-cv-00451, and Dig;

v. Maxwell Technologies, Inc., et al., Case No. 3:19-cv-01094 (the "Duffy Action");

        WHEREAS, under the Securities Exchange Act of 1934 (as amended by the Private

Securities Litigation Reform Act of 1995 ("PSLRA")), a court must appoint "the most adequate

plaintiff' as a "lead plaintiff' or "lead plaintiffs" to represent the class ("Lead Plaintiff');

        WHEREAS, on June 13, 2019, plaintiff James Duffy in the Duffy Action provided notice

to members of the purported plaintiff class as required by the PSLRA, setting a deadline to move

for Lead Plaintiff by August 12, 2019 in the Southern District of California;

        WHEREAS, in light of the foregoing, the Parties have met and conferred and agreed that

all deadlines in the present action should be stayed pending the outcome of the Lead Plaintiff

motions in the substantially similar actions in the Southern District of California, without

prejudice to either party's ability to file a motion to lift the stay;

        WHEREAS, this stay is without prejudice to Plaintiffs ability to file a motion seeking an

award of attorneys' fees in connection with pre-merger supplemental disclosures, and the Parties

have agreed that, in the event Defendants engage in any mediation with other plaintiffs regarding

mootness fees for pre-merger supplemental disclosures, Defendants will inform Plaintiff and

invite Plaintiff to participate;

        NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED as follows:




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        1.      The action is stayed pending the outcome of the Lead Plaintiff motions in the

substantially similar actions in the Southern District of California, without prejudice to either

party's ability to file a motion to lift the stay;

        2.      This stay is without prejudice to Plaintiffs ability to file a motion seeking an

award of attorneys' fees in connection with pre-merger supplemental disclosures;

        3.      In the event Defendants engage in any mediation with other plaintiffs regarding

mootness fees for pre-merger supplemental disclosures, Defendants will inform Plaintiff and

invite Plaintiff to participate in said mediation; and

        4.      This stipulation is without prejudice to all rights and defenses of any of the

defendants in responding to the Complaint.



Dated: New York, New York                      LIFSHITZ & MILLER LLP
       June 25, 2019
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                                               By:                             1 (1.
                                                     Joshua M. Lifshitz
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                                               Attorneys for Plaintiff




                                               (Additional signatures on next page)




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                                     Attorneys for Defendants


 SO ORDERED:




        Paul G. Gardephe, U.S.D.J.

June 26, 2019




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